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                                                                                          July 2nd, 2021
                                                                            Apeldoorn, the Netherlands


  To whom it may concern,

  We are the parents of Jaap Willem Lijbers: father Willem Lijbers, 66 years of age, retired after a
  career as co-owner of a successful construction company; and Anita Lijbers, 65 years old, also retired
  from a career as a teacher. We live in a beautiful home in a good neighborhood in Apeldoorn, a town
  in the calm-east side of the Netherlands. We have three gorgeous children.

  After graduating, our eldest son Gijs landed a great job with a transportation company that provided
  him with many opportunities. He also lives in Apeldoorn with his wife and two sons. After university,
  our daughter Laura followed her mother’s footsteps, working as a music teacher. Just to be clear,
  none of us have a criminal record! We are a proud, hard-working and decent family.

  Our youngest child Jaap, chose a more extraordinary path. After graduation, Jaap travelled to the US,
  with the intention of exploring this unknown, great country and returning after 3 months. But then
  he fell head over heels in love with an American girl. Their relationship became more and more
  serious, and Jaap decided to stay longer in the US. They had a child together, the true love of Jaap’s
  life: his daughter A.L.

  Jaap made the enormous mistake of not applying for residency when he had the chance. He was
  young and careless, and never good with paperwork. Later on we often spoke of his wish to apply for
  legal residency in the US, but he never ended up doing so out of fear of being deported away from
  his daughter. Instead of facing his residency problem head-on and getting proper legal advice, Jaap
  stuck his head in the sand and went on with his day-to-day life focusing on the care for his daughter.
  In 2019 we visited Jaap in Virginia. We found a hard-working young man who took very good care of
  his daughter. Jaap is a proud, loving and caring parent. A.L. means everything to him, so for that
  reason alone we cannot understand that he was in possession of a weapon. His arrest has triggered
  many emotions: shock, disappointment, sadness and so so much anger. It’s incomprehensible to us,
  how he could have been so stupid! Even more so as Dutch people, carrying such a weapon is truly
  unimaginable. It is strictly forbidden in the Netherlands, and he was certainly not raised that way!
  When Jaap returns to the Netherlands, he has a loving family and a warm home waiting for him. One
  thing however is crystal clear: we will do everything in our power to ensure that this never happens
  again! We have already been in contact with the local police and the municipality of Apeldoorn, and
  they are willing to support us and Jaap with his return, including looking for work.

  We really want Jaap to return home as soon as possible. For his sake, but also for our own. Last year
  Jaap’s father Willem was diagnosed with cancer. The treatments were very tough, but the results
  seemed good. Recently we were informed that the cancer has spread and further treatment is
  necessary. This has come as a gigantic shock, and has proven very difficult to cope with for us, but
  also our daughter Laura, son Gijs and daughter-in-law Roshy. On top of the concerns for Willem’s
  health, we are very worried about Jaap. We have not been able to visit him due to travel restrictions
  and therefore cannot support him the way we want to. The uncertainty for the future for both Jaap
  and his daughter A.L. weighs heavily on us, causing all of us countless sleepless nights. Having Jaap
  home won’t cure Willem’s cancer, but it will lessen the burden and stress allowing us to focus on
  Willem’s recovery.

  We believe Jaap deserves to be punished for his actions. We want him to better his life and become a
  good functioning member of society. We hear that life in prison in VA is very hard for Jaap, we pray
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  for his strength and wisdom to cope with the detention and accept the consequences of his actions.
  The pain he has caused A.L. and us, his family in the Netherlands, causes him to feel shame and
  remorse. Jaap has told us numerous times of his deep regrets, and is simply heart-broken being
  separated from his daughter A.L. We believe his remorse is truthful. We are convinced that Jaap has
  learned his lesson and will not repeat himself.

  We love him, and of course we will support him through this difficult time during, and after his
  detention. As mentioned, he is welcome to live with us, where he will be expected to behave well
  and work hard. We will see to that and demand this from him. Jaap is really handy, we say ‘he has 2
  right hands’, so he can help us a lot.

  Lastly, we are very concerned for his daughter A.L. A loving parent, her daily care-taker, has been
  pulled out of her life. Jaap has his faults, but has always been an outstanding father to his daughter.
  She should not be punished for her father’s actions, A.L. has the right to her family. Therefore, we
  urgently appeal to you not to impose a long re-entry ban. Such a ban would effectively, indefinitely
  deprive a young girl of her father, as her mother is a US citizen and not inclined to travel to the
  Netherlands. We can hardly imagine how hard it must be not to have contact with your parent, or for
  a parent with their child. So please, we beg you, give A.L. and Jaap the opportunity to have a shot at
  continuing their excellent relationship. Having experienced the consequences of his actions, we trust
  that Jaap won’t chance overstaying any future visa.

  Jaap deserved punishment, we believe he has had a severe sentence. Not only the prison sentence,
  but even more so the separation from his daughter. It is heart-breaking for both of them. Our Jaap is
  not a lost cause, he needs a new start with his parents and family in the Netherlands. It is time for
  him to come home to Apeldoorn.

  Jaap’s school teacher described her struggling student so strikingly: “His nature is good.”.

  We believe in Jaap!


  Yours sincerely,


  Willem & Anita Lijbers
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  Laura Lynn Lijbers, MSc
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  May 5, 2021

  RE: Mr. Lijbers


  To the Honorable Judge,


  I am writing on behalf of Jaap Willem Lijbers. Jaap is my younger brother and we have grown up together in the
  Netherlands until he traveled to the United States. I am currently 28 years old and just like our mom, I am working
  fulltime as a teacher in the field of music education. In general, Jaap is known by his family members as a
  persistent young man who is also a dedicated father. That is why I am writing this letter of good character on
  behalf of my parents and our older brother as well.

  I am fully aware of the fact that my brother has made big mistakes. Not only am I taking this very seriously, I am
  also deeply disappointed by his actions. However, I am writing to offer a fuller picture of him as a person. I believe
  that Jaap is a very persistent, creative, and adventurous young man. As a child he practiced judo as a sport and
  during family holidays he would always be the one to entertain us and play games. During our teenage years
  Jaap was struggling in school, intellectually as well as personally. In my opinion, these hardships made him
  vulnerable and desired him to act tough and belong to (the wrong kind of) groups. But despite all that he managed
  to graduate school with a valuable Dutch diploma, which proves his willingness to take responsibility for his future.

  During the time that Jaap has settled in the US, he was always trying to help others. In 2019 there were floods
  and Jaap volunteered in the community to clean up the mess. He would do mowing for neighbors or any other
  kind of thing to serve the community as well as his own family. The fact that his friends set up a fundraiser for him
  once he got arrested, prove to me that he was a valuable member of his community.

  However, what stands out the most to me is the way Jaap has proven to be a very loving and dedicated father to
  his daughter A.L. He always helped her with her homework or anything she needed when he was around and
  Britnee (A.L.’s mother) couldn’t. The pictures that he sends to us show a very happy, responsible, and loving dad.
  And that is exactly what my parents also saw when they visited him in 2019. I am sure that A.L. is missing her
  father a lot and I’m afraid that she is affected by this the most. That is also why I would strongly request to
  minimize the length of the entry-ban after Jaap’s deportation, in the interests of both the father and the child.

  Jaap is very positive minded. In the communication that I had with him during his time in prison right now, he
  stated to me that he is very sorry about everything that has happened in the past. He feels guilty and is fully
  aware of the impact that it has on his daughter and on his family members in the Netherlands, such as me and my
  parents. Jaap is looking to the future as a new chance, and I strongly agree with that. He said he already saved
  some money. To me, that shows his resilience and constructive, positive mindset.

  In the Netherlands there will be a lot of possibilities to support Jaap. My parents and myself have already reached
  out for help from the local municipality to make his return to the Netherlands as fruitful as possible. In here there
  are various ways in which Jaap can be assisted with housing, employment-seeking, and his mental wellbeing.

  Jaap has shown a remorseful attitude towards the mistakes he has made. It is my hope that this letter for Jaap
  Lijbers and his case will act as a positive and contributing factor when the court considers this matter.

  Sincerely, also on behalf of my parents and older brother,




  Laura Lynn Lijbers
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